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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                CASE NO.: 0:21-cv-60503-RKA

   EDUARDO GARCIA,

              PLAINTIFF,

   V.

   HEALTHCARE REVENUE
   RECOVERY GROUP, LLC.,

            DEFENDANTS.
   _____________________________________/


                                     NOTICE OF STRIKING [DE 22]

         COMES NOW, the undersigned for Defendant, Healthcare Revenue Recovery Group,

  LLC., and submits the Notice of Striking DE [22], due to a typo in the filer’s signature block.

         Dated this 11th day of August 2021.

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                                 CERTIFICATE OF SERVICE
         I HEREBY CERTIFY that a copy of the foregoing has been electronically filed on August

  11, 2021, via the Clerk of Court’s CM/ECF system. I further certify that the foregoing has been

  sent via electronic transmission to the following: Jibrael S. Hindi, Esquire                 at

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